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 As the COVID-19 public health crisis grows in New York City and
                                                                            COVID-19
 across the United States, there is significant concern about the           Publications | July 6th 2020
 economic effect the crisis will have on workers in occupations
 susceptible to mass layoffs. Workers in a number of sectors face
 significant income loss due to closures, reduced hours, and
 cancellations. While a $2.2 trillion stimulus bill that expands
 unemployment benefits was signed into law last Friday, not all
 affected workers will have access to the expanded aid. In an effort to
 understand the scale of the issue and disparities when examining
 potential impacts by race, we reviewed pre-crisis incomes and
 housing costs of New York City residents who work in occupations
 that are more vulnerable to income loss (“vulnerable occupations”).

 We invite constructive criticism and a dialogue over the methodology
 we use. To conduct this analysis, we used 2018 ACS Microdata on
 households in New York City. We separated occupations into two
 categories: those with the highest risk of mass layoffs and workplace
 closures due to the pandemic; and those likely to be more protected
 from widespread disruption. Our categorization draws on work by
 others (including the Brookings Institution, Moody's, and the U.S.
 Private Sector Job Quality Index Team) in identifying the industries
 and occupations most vulnerable to job loss due to the pandemic.
 Other kinds of analyses focus on the susceptibility of certain workers
 to contracting the virus, due to the essential nature of the job and the
 inability of these workers to work from home. While these workers
 aren’t necessarily in industries facing mass layoffs, some may likely
 still face loss in wages associated with their inability to continue
 working. Additionally, our numbers assume that all workers in a
 vulnerable occupation group are prone to layoffs, when it is likely
 that a percentage of each category are able to maintain their
 incomes. Because this proportion is unknown, we err on the side of
 considering all workers in a category at risk. In total, we estimate
 that about 1,405,000 (or 34 percent) of the city’s wage earners may
 be at risk of income loss.

 You can find our occupation categorization here, and all of the data
 and code for this analysis are available on our GitHub. Again, we
 invite your advice and feedback.



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 Based on these assumptions, which we subject to further refinement,
 we find that:

   • In 2018, lower income households were more likely to
     work in occupations prone to COVID-related job loss.

   • Out of almost 3.2 million households in New York City,
     almost 1,032,000 (totaling nearly 3.5 million people) had
     at least one household member that worked in a vulnerable
     occupation, and that person earned about 67 percent of the
     total income for the household.

   • In about 549,000 households, all earners worked in
     vulnerable occupations, making these households hyper-
     susceptible to income loss.

   • For households that earned less than $150,000 and had at
     least one worker in a vulnerable occupation in 2018, the
     median household monthly income was about $4,580 and
     the median rent was about $1,430.

   • Hispanic workers in particular disproportionately worked
     in vulnerable occupations in 2018. The potential negative
     impact for low-income people of color, who are
     predominantly renters, could be at a scale equivalent to the
     effects of the foreclosure crisis.

 Lower income workers are significantly more likely to rely
 on employment income from jobs that are prone to job
 loss.
 More than 60 percent of households that earned between $15,000
 and $30,000 had at least one household member employed in a
 vulnerable occupation, compared to 28 percent of households that
 earned more than $150,000. Households are dependent on this
 income: workers in vulnerable occupations earned about 67 percent
 of the total income for their household. Finally, the scale of affected
 households is quite large. About 1,032,000 New York City
 households (out of almost 3.2 million) had at least one household
 member that worked in a vulnerable occupation.




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 The majority of households with at least one member
 working in a vulnerable occupation and income under
 $150,000 were renters.




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 The high proportion of vulnerable households that rent elevates
 concerns about the potential for rent payments to accrue during the
 COVID-19 crisis, placing a strain on both renters and building
 owners. Among households with at least one member in a vulnerable
 occupation, more than 85 percent of households with income below
 $50,000 rented their home. Nearly 90 percent of households with
 income below $30,000 rented their home.




 Households with incomes between $15,000 and $50,000
 were more likely to rely entirely on employment income
 from vulnerable occupations. These households may be
 hyper-vulnerable to the negative effects of job loss.
 About 548,700 New York City households relied entirely on earners
 that worked in vulnerable occupations in 2018. This group includes
 households that have only one vulnerable wage earner, such as a
 single parent, as well as households that have multiple earners in
 vulnerable occupations. The median monthly household income for
 households that exclusively relied on workers in vulnerable
 occupations was $3,433.

 Over half of households that had income below $30,000 had all
 employed household members in a vulnerable occupation. For
 example, about 55 percent of households with incomes between
 $15,000 and $30,000 had all earners in vulnerable occupations.




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 Households with at least one worker in a vulnerable
 occupation and income under $150,000 had a median rent
 of $1,430 and a median household monthly income of




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 $4,583.
 As policymakers weigh pathways to support renters in the midst of
 COVID-19, a key question has been the cost of rent for the most
 vulnerable households. If renters do not have emergency savings and
 are unable to pay their rent due to COVID-19 related shutdowns,
 they may emerge from the crisis in debt and/or at risk of eviction.

 The median gross rent across all households with income below
 $150,000 and at least one vulnerable worker was $1,430. In
 contrast, the median gross rent for all households with income below
 $150,000 and without a worker in a vulnerable occupation was
 $1,580. Median monthly household income among households with
 at least one earner in a vulnerable occupation was $4,583 in 2018,
 compared to median monthly income of $6,250 for households
 without a vulnerable worker.




 The pandemic may widen existing racial and ethnic income
 gaps, especially for Hispanic households, who
 disproportionately worked in vulnerable occupations in
 2018.
 Close to 511,000 Hispanic earners worked in vulnerable occupations
 in 2018, more than any other racial group. About 48 percent of
 Hispanic wage earners were in vulnerable occupations in 2018, as




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 were 38 percent of non-Hispanic black workers, and 35 percent of
 non-Hispanic Asian or Pacific Islander workers.

 In contrast, non-Hispanic white earners worked disproportionately
 in less vulnerable occupations in 2018; 23 percent of non-Hispanic
 white workers were in vulnerable occupations.




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